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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               NORFOLK DIVISION



 PARKS,MILLICAN & MANN,LLC,

         Plaintiff/ Counterclaim Defendant,

         V.



 FIGURES TOY COMPANY,
                                                         CIVIL NO.2:16CV522
         Defendant / Counterclaimant /
         Cross-claimant,

         and


 RING OF HONOR WRESTLING
 ENTERTAINMENT,LLC,

         Defendant / Cross-claimant.



                                   OPINION AND ORDER


         This matter comes before the Court upon the partial motion to dismiss ("Motion") filed

 by Ring of Honor Wrestling Entertainment, LLC ("ROH") against Figures Toy Company

("Figures")(collectively, ROH and Figures are referred to as "Defendants"), ECF No. 66. In its

 Motion, ROH moves to dismiss Count 4 of Figures' crossclaim against ROH, which seeks

 contribution in the event Figures is found liable to Parks, Millican & Mann, LLC ("Plaintiff).

 For the reasons set forth herein, the Motion is GRANTED.

    I.        PROCEDURAL HISTORY

         Plaintiff filed its Complaint against Figures on September 2, 2016. ECF No. 1. On

 November 15, 2016, Plaintiff filed an Amended Complaint against Figures and ROH. ECF No.

 6. On December 1, 2016, Figures filed a motion to dismiss, ECF No. 11, which Plaintiff

 opposed, ECF No. 15. Following a hearing, this Court ordered that Plaintiff and Figures file

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supplemental briefs regarding whether the Copyright Act preempted Count III, breach of

contract and ordered that Plaintiff file a second amended complaint by May 2, 2017. ECF No.

 17. Plaintiff and Figures filed their supplemental briefs on April 18, 2017. ECF Nos. 19, 20.

        Plaintiff filed its Second Amendment Complaint on May 2, 2017. ECF No. 21. Figures

 moved to dismiss the Second Amended Complaint on May 17, 2017. ECF Nos. 27-29. Plaintiff

opposed the motion on May 31, 2017, ECF No. 32, and Figures replied on June 9, 2017, ECF

 No. 38. After being served and appearing in the case, on June 15, 2017, ROH moved to dismiss

the Second Amended Complaint. ECF No. 39. Plaintiff opposed that motion on June 28, 2017,

ECF No. 42, and ROH replied on July 5, 2017, ECF No. 43.

        On November 27, 2017, this Court held a hearing concerning Defendants' motions to

dismiss the Second Amended Complaint. Immediately following that hearing, the Court issued

an order granting Defendants' motions in part, denying them in part, and ordering Plaintiff to file

a third amended complaint within fourteen days. ECF No. 46. Specifically, the Court ruled

Plaintiff had alleged facts sufficient to state claims for relief against Figures and ROH for

copyright infringement (Count I) and violation of the Digital Millennium Cop5night Act(Count

VII). Id. at 3. It further ruled Plaintiffs claims for breach of contract (Count III), tortious

interference (Count IV), and fraudulent inducement (Count VI), were preempted by the

Copyright Act and dismissed those claims with prejudice. Id. at 3-4. Finally, the Court withheld

ruling on Plaintiffs claim for business conspiracy (Count V), pending Plaintiffs third amended

complaint. Id; see also ECF No. 48 at 12.

        On December 11, 2017, Plaintiff filed its Third Amended Complaint. ECF No. 49. The

Third Amended Complaint alleges Plaintiff has now received the copyright registration for one

additional design at issue, the 2012 World Heavyweight Championship Belt (the "Heavyweight
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 Belt"). 14 H 14. Otherwise, the allegations are substantially similar to those in the Second

 Amended Complaint, which the Court summarized in its November 29, 2017 Memorandum

 Opinion. ECF No. 48 at 2-4. Figures filed a motion to dismiss parts of the Third Amended

 Complaint on December 22, 2017, ECF Nos. 50, 51, and ROH filed a motion to dismiss parts of

the Third Amended Complaint on December 23, 2017, ECF Nos. 53, 54. Plaintiff opposed both

 Motions to Dismiss on January 5, 2018, ECF Nos. 55, 56, and both Defendants filed replies, ECF

 Nos. 57,58. On February 28, 2018, the Court denied Defendants' motions to dismiss with regard

to intentional violation of copyright(Count I) and violation of the Digital Millennium Copyright

 Act (Count VII), but dismissed Plaintiffs claim for business conspiracy (Count V) with

 prejudice. ECF No. 60.

          On March 14, 2018 both Defendants answered Plaintiffs Second Amended Complaint

 and each filed cross-claims against the other. ECF Nos. 61-63. Figures also filed a counterclaim

 against Plaintiff. ECF No. 61. On April 4, 2018, each party filed a response to the new claims:

Plaintiff answered Figures' counterclaim. ECF No. 64. Figures answered ROH's cross-claim.

ECF No. 65. And ROH answered Figures' cross-claim, ECF No. 68, except with regard to one

count, which ROH moved to dismiss, ECF No. 66.

          In its partial motion to dismiss, ROH asks this Court to dismiss Count Four of Figures'

cross-claim, which seeks contribution from ROH in the event Figures is found liable to Plaintiff

for copyright infringement or a violation of the DMCA. Id at 3. Figures did not oppose the

Motion by its response deadline. The Motion is ripe for disposition.

    II.      LEGAL STANDARD

          The function of a motion to dismiss under Rule 12(b)(6) is to test "the sufficiency of a

complaint." Occupv Columbia v. Halev. 738 F.3d 107, 116 (4th Cir. 2013). "[I]mportantly, it

does not resolve contests surrounding the facts, the merits of a claim, or the applicability of
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defenses." Republican Party of N.C. v. Martin. 980 F.2d 943, 952 (4th Cir. 1992). "To survive

such a motion, the complaint must contain facts sufficient *to raise a right to relief above the

speculative level' and 'state a claim to relief that is plausible on its face.'" Halev. 738 F.3d at

116. When reviewing the legal sufficiency of a complaint, the Court must accept "all well-

pleaded allegations in the plaintiffs complaint as true" and draw "all reasonable factual

inferences from those facts in the plaintiffs favor." Edwards v. Citv of Goldsboro. 178 F.3d 231,

244 (4th Cir. 1999). Legal conclusions, on the other hand, are not entitled to the assumption of

truth if they are not supported by factual allegations. Ashcroft v. IqbaL 556 U.S. 662,678(2009).

   III.    DISCUSSION

       Count Four of Figures cross-claim, in addition to incorporating earlier allegations,

highlights that Plaintiff sued Figures and ROH for copyright infringement and violation of the

DMCA, that Plaintiff seeks to hold Defendants jointly and severally liable for damages, and

concludes "[i]n the event Figures is found liable for one or more of the claims asserted against it

by [Plaintiff], Figures is entitled to contribution from ROH for some or all of any monetary relief

that Figures may be ordered to pay." ECF No. 61 at 25.

       ROH argues the Court should dismiss this count because there is no right to sue for

contribution under the Copyright Act or the DMCA. ECF No. 67 at 3. As federal statutes, ROH

argues, the only way a party can sue for contribution under them is if(1) Congress explicitly or

implicitly created such a right, or (2) the federal courts have created such a right through the

common law. Id. Although ROH provides no case from the Fourth Circuit Court of Appeals, it

cites several cases from federal district Courts ruling that a party cannot sue another for

contribution under the Copyright Act. See, e.g.. Pure Countrv Weavers v. Bristar. Inc.. 410 F.

Supp. 2d 439, 448 (W.D.N.C. 2006) (ruling "[N]o right of indemnification was affirmatively

created (either expressly or implicitly) by Congress in the Copyright Act, and ... this is not one
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 of the 'limited situations' in which the Court should formulate federal common law to create

 such a right" but allowing claims for indemnification and breach of warranty to proceed where

 they were based on state statute and contract); Lehman Bros.. Inc. v. Wu. 294 F. Supp. 2d 504,

 505 (S.D.N.Y. 2003) (dismissing a contribution claim premised on copyright infringement

 liability).

         In its crossclaim, Figures appears to bring separate counts for contractual indemnification

(Count Three) and contribution based on the Copyright Act and DMCA (Count Four). ECF No.

 61 at 24-25. Consistent with the cases it cites, ROH does not move to dismiss the claim for

 contractual indemnification, but only to dismiss the claim for contribution based on the

 Copyright Act and DMCA. ECF No. 66 at 1. Figures has filed no opposition, and the Court will

 grant the Motion as unopposed and consistent with relevant authority.

     IV.       CONCLUSION


           Accordingly, ROH's Motion to Dismiss Count Four of Figures Crossclaim, ECF No. 66,

 is GRANTED.


         Count Four of Figures crossclaim against ROH is DISMISSED.

         The Clerk is DIRECTED to forward a copy of this opinion to all Counsel of Record.

         IT IS SO ORDERED.




                                                                               istrict Judge
                                                                         ES DISTRICT
 Norfolk,,VA
 April     2018
